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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                        MDL No. 2873


                                      TRANSFER ORDER


        Before the Panel:* We are presented with motions in three actions. First, plaintiffs in the
District of Arizona Jeffries action move under Panel Rule 7.1 to vacate our order that conditionally
transferred Jeffries to the District of South Carolina for inclusion in MDL No. 2873. The Jeffries
defendants oppose the motion. 1 Second, defendant Intercontinental Terminals Company, LLC,
and plaintiffs in the Southern District of Texas Ogden action separately move under Panel Rule
7.1 to vacate our order that conditionally transferred Ogden to MDL No. 2873. Defendants Tyco
Fire Products, LP; Chemguard, Inc.; and Williams Fire & Hazard Control oppose these motions.
Finally, various defendants in the Western District of Michigan Nessel action 2 move under 28
U.S.C. § 1407(c) to transfer Nessel to MDL No. 2873. Plaintiffs Attorney General Dana Nessel
and the State of Michigan oppose this motion.

        In support of their motion to vacate, plaintiffs in Jeffries argue that federal subject matter
jurisdiction over Jeffries is lacking, and that their pending motion for remand to state court should
be decided before transfer. We are not persuaded by this argument. The Panel has held that such
jurisdictional objections generally do not present an impediment to transfer. 3 See, e.g., In re
Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347–48 (J.P.M.L. 2001)
(“[R]emand motions can be presented to and decided by the transferee judge.”).



* Judge David C. Norton did not participate in the decision of this matter.
1
 The opposing defendants in Jeffries include: Tyco Fire Products, LP; Chemguard, Inc.; Perimeter
Solutions, LP; and L.N. Curtis and Sons, Inc.
2
 The moving defendants in Nessel are: 3M Company; E.I. Du Pont De Nemours and Company;
The Chemours Company; The Chemours Company FC, LLC; DowDupont, Inc.; Corteva, Inc.;
Dupont de Nemours, Inc.; AGC Chemicals Americas, Inc.; and Archroma U.S., Inc.
3
  Panel Rule 2.1(d) expressly provides that the pendency of a conditional transfer order does not
limit the pretrial jurisdiction of the court in which the subject action is pending. Between the date
a remand motion is filed and the date that transfer of the action to the MDL is finalized, a court
generally has adequate time to rule on a remand motion if it chooses to do so.
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        The Jeffries plaintiffs also argue that their action involves different factual questions than
the actions in the MDL because Mr. Jeffries was a firefighter who allegedly was exposed to per-
or polyfluoroalkyl substances (PFAS) through use of aqueous film-forming foams (AFFFs), which
are used to extinguish fires. Recently, though, we held that such direct exposure actions share
common factual questions with the actions in the MDL, such that Section 1407 transfer is
appropriate. See In re Aqueous Film-Forming Foams Prods. Liab. Litig., MDL No. 2873, 2021
WL 755083, at *1–2 (J.P.M.L. Feb. 4, 2021) (the February Transfer Order). Plaintiffs’ attempts
to distinguish Jeffries from the firefighter actions at issue in the February Transfer Order are
unavailing. That plaintiffs may allege in more detail specific interactions between the AFFF
manufacturers and Mr. Jeffries’ employer does not eliminate the common factual questions
relating to PFAS and AFFF exposure that Jeffries shares with the more than 300 firefighter actions
in the MDL. Moreover, while the firefighter plaintiffs in the actions transferred in the February
Transfer Order may not all have alleged that they developed testicular cancer as a result of
exposure to AFFFs, this is an injury alleged by multiple plaintiffs in the MDL. “Section 1407 does
not require a complete identity or even majority of common factual issues as a prerequisite to
transfer.” In re Ins. Brokerage Antitrust Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005).

        Like Jeffries, the Southern District of Texas Ogden action involves allegations that
plaintiffs and class members were exposed to AFFFs during firefighting activities. Movants,
however, present a somewhat different argument in opposition to transferring Ogden. This action
arises from a petrochemical fire at a bulk liquid storage terminal near Houston, Texas. Plaintiffs
seek to represent a class of all first responders who worked to suppress this fire, who allegedly
used AFFF containing PFAS to fight the fire and were thereby exposed to those chemicals.
Movants argue that, because Ogden arises from a single incident, as opposed to chronic exposure
over a period of years, individual issues relating to “acute exposure” and the cause and suppression
of the fire will predominate over any common questions of fact.

        While Ogden is somewhat unique in arising from a particular incident, it will share many
of the same questions of fact as the other direct exposure firefighter actions in the MDL. Like
some of those actions, plaintiffs in Ogden principally seek a medical monitoring class relating to
exposure to AFFFs. Discovery and motion practice in Ogden, as in the actions in the MDL, will
concern the toxicity of PFAS and their effects on human health; the chemical properties of these
substances; the knowledge of the AFFF manufacturers regarding the dangers of PFAS; and their
warnings, if any, regarding proper use and storage of AFFFs. While most of the actions in the
MDL involve chronic exposure, there likely will be significant overlap in the science and
discovery. Significant efficiencies may be obtained through transfer. 4

4
  Movants rely on our decision to deny transfer of the Southern District of New York Kovach
action, which also involved a single incident. Kovach, though, was quite different from Ogden.
Kovach was a pro se action in which plaintiff alleged that he witnessed an intentional dumping of
AFFF at an Air National Guard base in 1990 and that he was discharged from the military in
retaliation for reporting the incident to a state environmental regulator. See Order Vacating
Conditional Transfer Order at 1, MDL No. 2873 (J.P.M.L. Mar. 27, 2020), ECF No. 621. Plaintiff
sought unique relief, including retroactive military promotion and retirement benefits. Id. In
                                                                                    (continued…)
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         Movants also argue that transfer will not produce efficiencies because Ogden will involve
numerous factual questions surrounding the fire that are unrelated to AFFFs and which are being
litigated in a consolidated litigation in the Southern District of Texas. The consolidated Texas
litigation, however, does not involve any other AFFF actions or claims. Allowing Ogden to remain
in the Southern District of Texas thus could complicate that litigation by introducing new and
complex issues relating to AFFF products and PFAS exposure. Any discovery relating to those
issues will be duplicative of that ongoing in MDL No. 2873. In contrast, it seems less likely that
duplicative discovery and motion practice relating to the fire will or need occur in the MDL.
Moreover, movants appear well-placed to take advantage of the discovery and any pretrial rulings
in the consolidated Texas litigation. Intercontinental Terminals Company, LLC, the owner of the
tank farm where the fire occurred, is a defendant in most, if not all, of the other actions in the
consolidated Texas litigation. The Ogden plaintiffs are represented by counsel who, according to
the AFFF manufacturers, represent plaintiffs in at least one other action in the consolidated
litigation and are co-lead counsel in that litigation. Regardless, movants’ contention that most of
the discovery and pretrial proceedings in Ogden will focus on the facts surrounding the fire
overlooks plaintiffs’ allegations. They seek a medical monitoring class relating to use and
exposure to AFFF, and allege no injuries from the fire unrelated to AFFF. The common AFFF
issues, therefore, are at the heart of plaintiffs’ claims.

        Plaintiffs in both Jeffries and Ogden argue that transfer will cause them inconvenience.
But, centralization under Section 1407 is for pretrial proceedings only. There usually is no need
for parties or witnesses to travel to the transferee court for depositions or court hearings. See In re
MLR, LLC, Patent Litig., 269 F. Supp. 2d 1380, 1381 (J.P.M.L. 2003). In any event, transfer of
an action is appropriate if it furthers the expeditious resolution of the litigation taken as a whole,
even if some parties to the action might experience inconvenience or delay. See In re Watson
Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351–52 (J.P.M.L. 2012) (“[W]e look
to the overall convenience of the parties and witnesses, not just those of a single plaintiff or
defendant in isolation.”).

        Turning to the Western District of Michigan Nessel action, moving defendants argue that
Nessel will share common questions of facts with the actions in MDL No. 2873, including two
other actions in the MDL brought by the same plaintiffs—the Attorney General and State of
Michigan. The Nessel actions in the MDL explicitly relate to contamination of Michigan’s
groundwater by PFAS contained in AFFF. We transferred one of these actions to the MDL over
plaintiffs’ opposition that the action related only to contamination from “commercial” AFFF
products (as opposed to “Mil-Spec” AFFF products that were manufactured in accordance with
military specifications and primarily used at military bases and airports). See February Transfer
Order at *3. Unlike those actions, the Nessel action now before us, on the face of the complaint,
purports to relate only to non-AFFF contamination of Michigan groundwater.

       We are persuaded that plaintiffs’ attempt to separate their non-AFFF and AFFF claims is
untenable. Although plaintiffs in their complaint purport to disclaim any liability from AFFF

contrast, plaintiffs in Ogden present more straightforward claims for injuries due to exposure to
AFFF containing PFAS.
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contamination, they identified in written discovery responses multiple locations at which PFAS
contamination from both AFFF and non-AFFF sources is alleged. At least one of these locations,
according to defendants, is already at issue in one of plaintiffs’ MDL actions. It thus appears likely
that the Nessel actions in the MDL and this Nessel action will involve common discovery relating
to the same contaminated groundwater. In this instance, declining to transfer this action will result
in duplicative discovery and pretrial proceedings. 5

        Much of our rationale for transferring plaintiffs’ “commercial AFFF” action to MDL No.
2873 is equally applicable to their “non-AFFF” action. See id. Of particular note, we previously
rejected an attempt by a water authority to split its claims into AFFF and non-AFFF complaints
and thereby maintain an action outside the MDL. See Transfer Order at 2, MDL No. 2873
(J.P.M.L. Oct. 5, 2020), ECF No. 691 (“Plaintiff could have asserted all of these claims in the same
action, but instead chose to split these claims across two actions. It would be inefficient for these
actions to proceed separately and potentially prejudicial to the parties.”). Plaintiffs’ attempt to
distinguish this decision is not persuasive. Allowing Nessel to proceed separately from plaintiffs’
other actions, particularly where they may involve the same allegedly contaminated sites, would
be similarly inefficient. 6

        Plaintiffs argue that transfer would not be efficient because the MDL is procedurally
advanced and Nessel will introduce many new sites, parties, and non-AFFF sources of
contamination. We rejected similar arguments by the States of New York and Ohio. See Transfer
Order at 1, MDL No. 2873 (J.P.M.L. Apr. 2, 2019), ECF No. 384 (“[T]his numerosity of locations
and actions, and the lack of practicable alternatives to centralization to address the common factual
and legal questions ,was one of the reasons we centralized this litigation.”). The MDL remains in
the discovery stage and we are confident the transferee court will efficiently adjudicate plaintiffs’
claims.

      Finally, plaintiffs contend that defendants removed Nessel to federal court to avoid the
Michigan state court’s rulings. Defendants’ reasons for removing Nessel, however, are irrelevant

5
  Plaintiffs argue that they were asked to identify sites contaminated by AFFF, but are not seeking
damages for AFFF-related damages. Besides the probability of duplicative discovery involving
the same allegedly contaminated groundwater, plaintiffs overlook that defendants may raise
contamination from AFFF sources as a “defense or an alternate theory.” Nessel v. Chemguard,
Inc., 2021 WL 744683, at *3 (W.D. Mich. Jan. 6, 2021) (denying remand motion in the
“commercial AFFF” action).
6
 Plaintiffs cite two orders in which we declined to transfer actions by water authorities that alleged
only non-AFFF contamination of plaintiffs’ water sources. Critically, though, plaintiffs in those
actions did not seek, in separate actions, to hold AFFF manufacturers liable for the same alleged
contamination. Further, those actions were far more limited in scope, whereas Nessel potentially
extends to all contaminated groundwater in the State of Michigan. See Order Denying Transfer at
1, MDL No. 2873 (J.P.M.L. Dec. 18, 2019), ECF No. 541 (Middlesex); Order Denying Transfer,
MDL No. 2873 (J.P.M.L. Mar. 27, 2020), ECF No. 620 (eight Eastern District of New York
actions).
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to whether transfer under Section 1407 is appropriate. As with Jeffries, plaintiffs in Nessel can
present any remand arguments to the transferee court. See In re Prudential, 170 F. Supp. 2d at
1347–48.

        Accordingly, after considering the argument of counsel, we find that the actions listed on
Schedule A involve common questions of fact with the actions transferred to MDL No. 2873, and
that transfer under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses and
promote the just and efficient conduct of the litigation. In our order centralizing this litigation, we
held that the District of South Carolina was an appropriate Section 1407 forum for actions in which
plaintiffs allege that AFFF products used at airports, military bases, or certain industrial locations
caused the release of PFOS and/or PFOA into local groundwater and contaminated drinking water
supplies. The actions in the MDL share factual questions concerning the use and storage of AFFFs;
the toxicity of PFAS and the effects of these substances on human health; and these substances’
chemical properties and propensity to migrate in groundwater supplies. See In re Aqueous Film-
Forming Foams Prods. Liab. Litig., 357 F. Supp. 3d 1391, 1394 (J.P.M.L. 2018). All three actions,
for the reasons stated above, will involve similar factual questions.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
District of South Carolina and, with the consent of that court, assigned to the Honorable Richard
M. Gergel for coordinated or consolidated pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                            Karen K. Caldwell
                                                                Chair

                                       Catherine D. Perry                  Nathaniel M. Gorton
                                       Matthew F. Kennelly                 Roger T. Benitez
                                       Dale A. Kimball
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IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2873


                                  SCHEDULE A


                District of Arizona

    JEFFRIES, ET AL. v. CHEMGUARD INCORPORATED, ET AL.,
          C.A. No. 2:21−00059

                Western District of Michigan

    NESSEL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:21−00205

                Southern District of Texas

    OGDEN, ET AL. v. INTERCONTINENTAL TERMINALS COMPANY, LLC, ET AL.,
        C.A. No. 4:21−00273
